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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

BASF CORPORATION,
Plaintiff,

V. C.A. No. 18-1391-RGA
INGEVITY CORPORATION,

 

3 /Defendant.

 

JURY VERDICT FORM

When answering the following questions and filling out this Verdict Form, please follow the
directions provided throughout. Your answer to each question must be unanimous. Some of the
questions contain legal terms that are defined and explained in detail in the Jury Instructions. Please
refer to the Jury Instructions if you are unsure about the meaning or usage of any legal term that appears
in the questions below.

We, the jury, unanimously find as follows:

PLAINTIFF’S TYING CLAIM

1. Has BASF proven by a preponderance of the evidence that Ingevity engaged in unlawful tying
of licenses to U.S. Patent No. RE38,844 to sales of Ingevity’s carbon honeycombs in violation
of Sections 1 or 2 of the Sherman Act?

Checking “yes” below indicates a finding for BASF
Checking “no” below indicates a finding for Ingevity

Yes VY No

Proceed to the next question.

 

 
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PLAINTIFF’S EXCLUSIVE DEALING CLAIM

2. Has BASF proven by a preponderance of the evidence that Ingevity engaged in unlawful
exclusive dealing in violation. of Sections 1 or 2 of the Sherman Act or Section 3 of the Clayton
Act?

Checking “yes” below indicates a finding for BASF
Checking “no” below indicates a finding for Ingevity

Yes / No

Proceed to the next question.
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PLAINTIFF’S CLAIM FOR INTENTIONAL INTERFERENCE WITH
PROSPECTIVE BUSINESS RELATIONSHIPS

3, Has BASF proven by a preponderance of the evidence that Ingevity knew about and unlawfully
interfered with a prospective business relationship between BASF and Kayser?
Checking “yes” below indicates a finding for BASF
Checking “no” below indicates a finding for Ingevity

Yes No

* OR OK

Tf you answered “yes” to any of Questions I, 2 or 3, proceed to the directions preceding
Question 4. If you answered “no” to all of Questions I, 2 and 3, please turn to the last page,
sign this verdict sheet and inform the court security officer that you have reached a verdict.

 
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ANTITRUST DAMAGES

If you answered “yes” to Questions I and/or 2, please answer Question 4. Otherwise, skip to
the directions preceding Question 5.

4, What amount of compensatory damages, if any, is BASF entitled to recover for its antitrust
claims (tying and exclusive dealing)?

Answer in dollars and cents: §$ a ¥, a £5, 1 /f

TORTIOUS INTERFERENCE DAMAGES
Powwow]
Only answer Question 5 if you answered “yes” to Question 3.

5. What amount of compensatory damages, if any, is BASF entitled to recover for its claim that
Ingevity unlawfully interfered with BASF’s prospective business relationship with Kayser?

Answer in dollars and cents: $ [ 0 7 Y § 3, 495

Please sign this verdict sheet and inform the court security officer that you have reached a verdict.

 
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SIGNATURE AND DATE

You have now reached the end of the verdict form and should review it to ensure it accurately reflects
your unanimous determinations. The Jury Foreperson should then sign and date the verdict form in the
spaces below and notify the Courtroom Deputy that you have reached a verdict. The Jury Foreperson
should retain possession of the verdict form and bring it when the jury is brought back into the
courtroom.

Date: 9 -/5--202]

 

 

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